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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Philip A. Brimmer


Civil Action No. 09-cv-2912-PAB

PEOPLE OF THE STATE OF COLORADO,

      Plaintiff,

v.

ROBERT RODARTE,
FRANKIE SALAZAR,
JOSE SALAZAR, and
JAMES CISNEROS,

      Defendants.



                   ORDER GRANTING JOINT MOTION TO REMAND


      This matter comes before the Court on the parties’ joint motion to remand

[Docket No. 73]. This matter was removed by the FBI from the El Paso County District

Court for the sole purpose of seeking a ruling from this Court on the issue of whether

the confidential informant file should be released as ordered by the El Paso County

District Court. Because this Court has made a decision on that issue, there are no

further proceedings to be conducted before this Court.

      Accordingly, it is

      ORDERED that the joint motion to remand [Docket No. 73] is GRANTED. This

matter is remanded back to the El Paso County District Court for further proceedings in

that court as appropriate.
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     DATED April 6, 2010.

                                         BY THE COURT:


                                         s/Philip A. Brimmer
                                         PHILIP A. BRIMMER
                                         United States District Judge




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